Case 7:07-cv-00164-GEC-mfu Documenti1 Filed 04/03/07

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For use by inmates in filing a complaint under CIVIL RIGHTS ACT, 42 USC § 1983 |
INMATENAME: _S % 224 We-Faes Zz

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PRISONERNO.: 2105

PLACE OF CONFINEMENT:_ A / 6 17/6 CWAAlo77¢ UUs | EXD ONE UB PSY COURT |
IN THE UNITED STATES DISTRICT COURT mee
FOR THE WESTERN DISTRICT OF VIRGINIA APR 0 3 2007
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Enter FullName Plaintitt a Ope pier
eo
vs. '
CIVIL ACTION No. 7-27-CU-001G
CUA >7ZESEVUES Police aAbpZ
Cho Gang AOEMR MATES SIC SAdeCpalsy
AS Full Name(a) Defendant(s) td cs vey
A. Have you begun other actions in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment?
Yes No
B. If your answer to A is Yes, describe the action in the space below.
?
1. Parties to the Action: 4 a4 bS. ue (AN cosh Nal aes >

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2. Court: CoC LLF COYR 7
3. Docket No.:
4. Judge:
5. Disposition: Ll 6AS¢d
(FOr EXAMMPIS, 15 TE CASE SM PEMA? WOT, WHAT WAS INS TUNG? WAS INS CASS pPEATEN7)
C. Have you filed any grievances regarding the facts of your complaint?
Yes No
1. If your answer is Yes, complete the enclosed verified statement, indicating

the result. Please attach evidence of your exhaustion of all available

rieyance procedures.
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2. If your answer is No, indicate the reason for failure to exhaust on the verified
statement. You may be required to exhaust your claims through any
applicable grievance procedures. Your complaint may be dismissed if you
fail to exhaust all avenues of the grievance process in a timely fashion.

Case 7:07-cv-00164-GEC-mfu Document1 Filed 04/03/07 Page 2of3 Pageid#: 2

D. Statement of Claim - State here briefly the facts of your case. Describe how each

defendant is involved. Include also the names of other persons involve, dates and

laces. Do not give any legal arguments or cite any cases or statutes. If you intend

0 allege a number of different claims, number and et forth each claim in a separate

paragraph. Use as much space as needed. You may attach extra paper if
necessary.

Claim #1 - Supporting Facts - Tell your story briefly without citing cases or law.

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Claim #2 - Supporting Facts - Tell your story briefly without citing cases or law.

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Claim #3 - Supporting Facts - Tell your story briefly without citing cases or law.

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E. State what relief you seek from the Court. Make no legal arguments, cite no cases
or statutes.

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SIGNED THIS 2 DAYOF 4 ¢R@</ 2007 _.

Os PY 2. Fast

(Signattire of Each Plaihtiff)

VERIFICATION:

| “STAAY \~e Saucer , State that | am the plaintiff in this action
and I know the Content of the above complaint; that it is true of my own knowledge, except
as to those matters that are stated to be based on information and belief, and as to those
matters, | believe them to be true. | further state that | believe the factual assertions are
sufficient to support a claim of violation of constitutional rights. Further, | verify that | am
aware of the provisions set forth in 28 USC § 1915 that prohibit an inmate from filing a civil
action or appeal, if the prisoner has, three or more occasions, while incarcerated, brought
an action or appeal in federal court that are dismissed on the grounds that it was frivolous,
malicious or failed to state a claim upon which relief may be granted, unless the prisoner
is in imminent danger of serious physical injury. | understand that if this complaint is
dismissed on any of the above grounds, | may be prohibited from filing any future actions
without the pre-payment of filing fees.

| declare under penalty of perjury the foregoing to be true and correct.

DATED: 4/~2- © ? — SIGNED: Geeky We Cy

Case 7:07-cv-00164-GEC-mfu Document 1. Filed 04/03/07 Page 3 of 3 Pageid#:

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